Case 1:02-cv-01832-RLY-WTL Document 1 Filed 11/25/02 Page 1 of 12 PagelD #: 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA 00 85

INDIANAPOLIS DIVISION /
GiGi STEINWACHS, ) On
)
Plaintiff, )
)
vs. )  CAUSENO.
) _ COMPLAINT
TOWN OF KNIGHTSTOWN -) sy
KNIGHTSTOWN POLICE DEPT, ) qs 02 -C\- 1 832 RLY
PAT ADAMS, ADRIAN DARLING.)
MIKE VACCARO, )
STEPHANIE MURREY, )
SHEILA JENKINS, )
MICHELLE POLLARD, )
CHARLES JOYCE, )
Defendants. )
NATURE OF THE ACTION

This is an action under Title VII of the Civil Rights Act of 1964 and Title I of the
Civil Rights Act of 1991 to correct unlawful employment discrimination on the basis of
sex, and under 42 U.S.C. 1983, 1985, 1988, 424 USC 1983 due to the denial of civil
rights under color of law and supplemental state law claims and to provide appropriate
relief to GiGi Steinwachs, the Plaintiff, who was adversely affected by such practices.
The Plaintiff alleges that the defendant, Town of Knightstown/Knightstown Police
Department (hereinafter referred to as “Knightstown’”), discriminated and retaliated
against her by terminating her employment after she reported sexual harassment and
discrimination. Also, plaintiff alleges violations of 42 USC 1983. Additionally, Plaintiff
raises the state law claims of intentional infliction of emotional distress, negligent

infliction of emotional distress, false imprisonment, assault and intimidation

 

 

 
 

 

Case 1;02-cv-01832-RLY-WTL Document1 Filed 11/25/02 Page 2 of 12 PagelD #: 2

COUNT I
Jurisdiction of this Court is invoked pursuant to 28 USC Sections 451,
1331, 1337, 1343 and 1345. This action is authorized and instituted
pursuant to Section 706(f)(1) and (3) of Title VII of the Civil Rights Act
of 1964, as amended, 42 USC Section 2000e-3(a), Section 2000e2(a)(1)
Section 2000e-5()(1) and (3) Section 2000e-5(g)(2) (“Title VIP’) and
Section 102 Of the Civil Rights Act of 1991, 42 USC Section 198 1a. and
42 USC 1983, 1985 and 01988 and any other applicable section based on
the facts of this matter.
The employment practices and other acts alleged to be unlawful were
committed within the jurisdiction of the United States District Court for
the Southern District of Indiana, Indianapolis Division.

PARTIES
Plaintiff, GiGi Steinwach, is a female citizen of the United States of
America and is a resident of Henry County, Indiana.
Plaintiff avers on information and belief that, at all relevant times,
defendant-employer, Knightstown, is a political subdivision of the State of
Indiana located in Henry County and subject to the requirements of the
Civil Rights Act of 1964 (as amended).
Pat Adams was Chief of Police of Knightstown during all relevant times
until April 2001.
Adrian Darling was a police officer during all relevant times and became

Chief of Police on or about May 2001. Mike Vaccaro, Stephanie Murray,

 
Case |

 

 

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lo2-cv-01832-RLY-WTL Document 1 Filed 11/25/02 Page 3 of 12 PagelD #: 3

Sheila Jenkins, and Michelle Pollard were all employees of the defendant,
Knightstown Police Department.

ADMINISTRATIVE PROCEDURES
Plaintiff, GiGi Steinwachs, timely filed a Charge of Discrimination against
the defendant with the Equal Employment Opportunity Commission
(“EEOC”) on or about June 7, 2002.
On or about August 27, 2002, Plaintiff received from the EEOC a “Notice
of Right To Sue” entitling her to commence this action within 90 days
from her receipt of that notice.
Plaintiff has satisfied all private, administrative and judicial prerequisites
to the institution of this action. Neither the State of Indiana, nor the
County of Henry, nor the Knightstown has a law prohibiting the unlawful
practices alleged in this Complaint under which Plaintiff was obligated to
make a Complaint or charge prior to filing this action.

STATEMENT OF CLAIMS

Plaintiff was hired in August 2000 as a general dispatcher for the
Knightstown Police Department, a civilian employee position.
On April 2001, plaintiff was ordered into a private room by Chief of
Police, Pat Adams.
Pat Adams and others subjected plaintiff to abusive language and
innuendo, and harassment of a sexual nature as well as assault.
Plaintiff complained of the events at that meeting mentioned above to

Knightstown officials.

 
 

 

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Case tloz-ev-01832-RLY-WTL Document 1 Filed 11/25/02 Page 4 of 12 PagelD #: 4

14. Knightstown, by and through its chief of police began a policy and
practice of harassing, discriminatory against plaintiff by
a. Requiring that she wear a uniform but not requiring the same of
male civilian employees;
b. Falsely accusing her of violating confidentiality orders;
c. Falsely accusing her of violating Knightstown Police Department
internal policy;
d. Allowing male employees to discuss the sexual affairs of co-
workers and discipling her when they perceive she has done so.
The result of the practices complained of in paragraph 11-14
have been to deprive the Plaintiff of equal employment opportunities and
otherwise adversely affect her status as an employee, because of her sex
and in retaliation for reporting sexual harassment.
The unlawful employment practices complained of in paragraphs 11-14
were intentional.
The unlawful employment practices complained of in paragraphs 11-14
were done with malice or with reckless indifference to the federally
protected rights of the Plaintiff.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully requests that this Court:

A.

Grant a permanent injunction enjoining Knightstown, its officers,
successors, assigns and all persons in active concert or participation with it

from engaging in discrimination of the basis of sex by subjecting female

 
Case 1

 

 

02-cv-01832-RLY-WTL Document1 Filed 11/25/02 Page 5 of 12 PagelD #: 5

employees to sexual harassment and discharge and any other employment
practice which discriminates on the basis of sex:

Order Knightstown, to institute and carry out policies, practices and
programs which provide equal employment opportunities for women, and
which eradicates the effects of its past and present unlawful employment
practices.

Order Knightstown to make whole the Plaintiff by providing her with
appropriate back pay, with pre-judgment interest, in amounts to be
determined at trial, and other affirmative relief necessary to eradicate the
effects of its unlawful employment practices, including but not limited to
reinstatement, or front pay and lost future earnings in lieu thereof, for the
Plaintiff;

Order Knightstown to make whole the Plaintiff by providing
compensation for past and future pecuniary losses resulting from the
unlawful employment practices described in paragraphs 11-14 above,
including out of pocket expenses plus pre-judgment interest and future
monetary expenses including but not limited to job search expenses, in
amounts to be determined at trial;

Order Knightstown to make whole the Plaintiff by providing
compensation for past and future non-pecuniary losses above, including
physical and emotional pain and suffering, mental anguish and loss of

enjoyment of life, in amounts to be determined at trial;

 
Case 1

 

 

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02-¢v-01832-RLY-WTL Document 1 Filed 11/25/02 Page 6 of 12 PagelD #: 6

Order Knightstown to pay the Plaintiff punitive damages for their
malicious and reckless conduct described in paragraphs 11-14 above, in
amounts to be determined at trial.
Grant such further relief as the Court deems necessary and proper in the
public interest.
Award the Plaintiff attorney fees and costs of this action.

COUNT II
Plaintiff restates each and every allegation listed above herein.
Knightstown believed plaintiff exercised her right to freedom of speech by
posting a message on an electronic bulletin board.
Knightstown is aware that plaintiff did not violate any policy of
Knightstown regarding posting messages.
In an attempt to punish plaintiff for this believed act, Knightstown
terminated plaintiff's employment.
In an attempt to inhibit plaintiff and others from exercising their rights of
freedom of speech Knightstown terminated plaintiff's employment.
Knightstown’s actions were taken under color of law.
Knightstown’s action deprived plaintiff and others of their ri ghts
guaranteed by the U.S. and Indiana State Constitution.
Knightstown’s action violated 42 U.S.C. Section 1983 (et. seq. as

amended).

 
Case 1

 

 

02-cv-01832-RLY-WTL Document1 Filed 11/25/02 Page 7 of 12 PagelD #: 7

WHEREFORE, plaintiff prays for judgment against Knightstown in an

amount to be proven at trial, compensatory and punitive damages, recoverable

attorney fees, the costs of the action and all other relief appearing just and proper.

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COUNT III

Plaintiff restates each and every allegation listed in paragraphs

above.

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In or about April 2001, plaintiff was ordered by the Knightstown police
chief, Pat Adams, into a private office.

Once in the office, the door was locked and she was surrounded by
defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie Murrey,
Sheila Jenkins, Michelle Pollard and Charles Joyce.

Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie
Murrey, Sheila Jenkins, Michelle Pollard and Charles J oyce were at that
time police officers.

While plaintiff was in the custody of these officers in the locked office,
plaintiff was questioned, intimidated, assaulted, and badgered.
Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie
Murrey, Sheila Jenkins, Michelle Pollard and Charles Joyce had no legal
basis to take plaintiff in custody.

Plaintiff was questioned by defendants, Pat Adams, Adrian Darling, Mike
Vaccaro and Sheila Jenkins without being informed of her constitutional

right to counsel.

 
Case tloz-cv-01892-RLY-WTL Document 1. Filed 11/25/02 Page 8 of 12 PagelD #: 8

 

 

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Defendants, Pat Adams, Adrian Darling, Mike Vaccaro and Sheila Jenkins
allowed defendants, Stephanie Murrey and Michelle Pollard to question
plaintiff.

Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Sheila Jenkins,
Stephanie Murrey and Michelle Pollard harassed, threatened and intimated
plaintiff while she was in custody.

Defendants, Adrian Darling and Mike Vaccaro assaulted plaintiff by
throwing a chair at her while she was in custody.

The actions of defendants, Pat Adams, Adrian Darling, Stephanie Murrey,
Sheila Jenkins and Michelle Pollard deprived plaintiff of her rights,
guaranteed by the 4", 6" and 14" Amendments to the Constitution of the
United States and similar provisions of the Indiana Constitution regarding

seizure, right to counsel and due process.

WHEREFORE, plaintiff prays for judgment against Adrian Darling and Mike
Vaccaro in an amount to be proven at trial, compensatory and punitive damages,
recoverable attorney fees, the costs of the action and all other relief appearing just

and proper.

COUNT IV
Plaintiff restates each and every allegation listed in paragraphs
above.
Adrian Darling and Mike Vaccaro assaulted plaintiff in throwing a chair at

her in the meeting of April 2001.

 
 

Case {lo2-ev-01832-RLY-WTL Document 1 Filed 11/25/02 Page 9 of 12 PagelD #: 9

WHEREFORE, plaintiff prays for judgment against Adrian Darling and Mike
Vaccaro in an amount to be proven at trial, compensatory and punitive damages,
recoverable attorney fees, the costs of the action and all other relief appearing just
and proper.
COUNT V
39. Plaintiff restates each and every allegation listed in paragraphs above.
40. Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie Murrey,
Sheila Jenkins, Michelle Pollard and Charles Joyce, intimidated plaintiff at the
meeting in April 2001.
WHEREFORE, plaintiff prays for judgment against Pat Adams, Adrian Darling,
Mike Vaccaro, Stephanie Murrey, Sheila Jenkins, Michelle Pollard, and Charles Joyce in
an amount to be proven at trial, compensatory and punitive damages, recoverable
attorney fees, the costs of the action and all other relief appearing just and proper.
COUNT VI
41. Plaintiff restates each and every allegation listed above herein.
42. Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie Murrye,
Sheila Jenkins, Michelle Pollard, and Charles Joyce falsely imprisoned
plaintiff at the meeting in April 2001.
WHEREFORE, plaintiff prays for judgment against Pat Adams, Adrian Darling,
Mike Vaccaro, Stephanie Murrey, Sheila Jenkins, Michelle Pollard, and Charles Joyce in
an amount to be proven at trial, compensatory and punitive damages, recoverable

attorney fees, the costs of the action and all other relief appearing just and proper.

COUNT VII

 

 
Case 1:

 

 

2-cv-0182-RLY-WTL Document 1 Filed 11/25/02 Page 10 of 12 PagelD #: 10

43. Plaintiff restates each and every allegation listed above herein.

44. Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie Murrey,
Sheila Jenkins, Michelle Pollard intentionally subjected plaintiff to emotional
distress.

WHEREFORE, plaintiff prays for judgment against Pat Adams, Adrian
Darling, Mike Vaccaro, Stephanie Murrey, Sheila Jenkins, Michelle Pollard, and
Charles Joyce in an amount to be proven at trial, compensatory and punitive
damages, recoverable attorney fees, the costs of the action and all other relief
appearing just and proper.

COUNT VIII

45. Plaintiff restates each and every allegation listed above herein.

46. Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie Murrey,
Sheila Jenkins, Michelle Pollard, and Charles J oyce, intentionally subjected
plaintiff to emotional distress.

WHEREFORE, plaintiff prays for judgment against Pat Adams, Adrian
Darling, Mike Vaccaro, Stephanie Murrey, Sheila J enkins, Michelle Pollard, and
Charles Joyce in an amount to be proven at trial, compensatory and punitive
damages, recoverable attorney fees, the costs of the action and all other relief
appearing just and proper.

COUNT IX

47. Plaintiff restates each and every allegation listed above herein.

 
Case 1 Ho-ev-01832-RLY-WTL Document 1 Filed 11/25/02 Page 11 of 12 PagelD #: 11

48. Defendants, Pat Adams, Adrian Darling, Mike Vaccaro, Stephanie Murrey,

Sheila Jenkins, Michelle Pollard, and Charles J oyce, negligently subjected

plaintiff to emotional distress.

WHEREFORE, plaintiff prays for judgment against Pat Adams, Adrian Darling,
Mike Vaccaro, Stephanie Murrey, Sheila Jenkins, Michelle Pollard, and Charles Joyce in
an amount to be proven at trial, compensatory and punitive damages, recoverable
attorney fees, the costs of the action and all other relief appearing just and proper.
COUNT X
49. Defendant, Charles Joyce, was an employee of Knightstown police
department.
50. Charles Joyce published a statement, verbally, and in writing, falsely stating
plaintiff had written a statement on an electronic bulletin board.
51. Charles Joyce knew the statements were false when made.
52. As a result of these statements, plaintiff's employment with Knightstown was
terminated.

WHEREFORE, plaintiff prays for judgment against Charles Joyce in an
amount to be proven at trial, compensatory and punitive damages, recoverable
attorney fees, the costs of the action and all other relief appearing just and proper.

JURY TRIAL DEMAND

The Plaintiff requests a jury trial on all questions of fact raised by her complaint,

 

 

 
Case 1:

Ho -cv-01832-RLY-WTL Document 1 Filed 11/25/02 Page 12 of 12 PagelD #: 12

Respectfully submitted,

ECKERT ECKERT & CRAVEN

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